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                               UN ITED STATES DISTRICT COURT
                               SOU TH ERN DISTRICT O F FLORID A

                                  CA SE N O .2l-M J-6552-SN O W

   UN ITED STA TES O F AM ERICA ,
                                                                       FILED BY               D.C.

   VICTOR ALFONSO ARANGO                                                     0C1'21 2021
   DEYVISNOEHERRERA-PEV Z,
   JU LIO CESA R TO RRES CA TA LA ,                                          ct
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                                                                                         1:LALID.
   and JOSE M IG UEL G O M EZ D IA Z,

                 Defendants.


                                             ORD ER

          THIS M ATTER comes before the Courtupon the Governm ent's Unopposed M otion to

   ContinueDepositions. gDE 121. ThefourDefendantshavebeen charged by way ofamaterial
   witnesscomplaint,pursuantto 18U.S.C.j3144,inordertopreservetheirtestimonyforuseinthe
   prosecution of Delon Knowles,who has been separately charged with alien smuggling. The

   materialwitnesscom plaintwas filed on October 1,2021,and the Defendants made theirinitial

   appearancesthesameday.gDE 1-51. Attheirinitialappearances,the Courtsetarraignmentsand
   prelim inary hearings for each D efendant for O ctober 15, 202 1. O n O ctober 13, 2021, the

   Governmentmoved to continue those hearings (though referring to the hearings as a çistatus
   conferenee'').gDE 101.Thatmotionnotedthatthescheduling ofdepositionsfortheDefendants
   wasdelayed forapproxim ately seven days while one ofthe Defendants soughtto hire counsel.

   The statusconference,arraigmuents,and prelim inary hearings were consequently continued for

   sevendays.gDE 111.
         The G overnm ent's currentm otion asksto continue çûdepositions''forfourteen days. To be

   clear,the Courtdoesnot(and hasnot)seta schedule for depositionsto occur. That isthe
                                                1
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    Government's responsibility,in coordination with defense counsel. How ever, l intem ret the

    G overnm ent'sm otion asseeking to continue the scheduled arraignm entsand prelim inary hearings

    forfourteen days. Themotionrepresentsthatdefensecounselhave no objection tothemotion.
    Being fully advised in thepremises,itishereby:

           ORDERED AND ADJUDGED thattheGovernment'smotion(DE 121isGRANTED to
   the extent it seeks to continue the Defendants' arraignments and prelim inary hearings. The

   Defendants'arraignments and prelim inary hearingsarehereby continued to November5, 2021.

   The Courtexpectsthatby Novem ber5,thepartieswillbe able to notify the Courtthatthey have

   completed the Defendants'depositions. The time period betw een October22 and Novem ber5,

   2021,ishereby exeluded underthe Speedy TrialAct, 18U.S.C.3161(h)(7)(A).TheCourtfinds

   thattheendsofjusticeservedbygrantingthecontinuanceoutweighstheinterestsoftheDefendant
   and thepublicin aspeedy trial.1d.

          DONE AND ORDERED atFortLauderdale,Floridathis21stday ofOctober2021.



                                                        ared M .Strauss
                                                       United StatesM agistrateJudge
   Copiesto:

   CounselofR ecord
